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                        UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS,
                              EASTERN DIVISION

SAMANEH AHMADINEJAD,                                 )
                                                     )
                      Plaintiff,                     )       Case No.: 1:21-cv-06771
                                                     )
       v.                                            )
                                                     )       Judge Wood
DEPAUL UNIVERSITY,                                   )
                                                     )       JURY TRIAL DEMANDED
                      Defendant.                     )

                                   AMENDED COMPLAINT

       Plaintiff, Samaneh Ahmadinejad, by her attorney, Stephen A. Glickman, pursuant to all

applicable rules, hereby complains against Defendant, DePaul University, as follows.

       1. Defendant is a private educational institution located in Chicago, Illinois.

       2. Plaintiff is an Electrical Engineer with M.Sc. and B.Sc. degrees in that field. She was

enrolled as a graduate student in Defendant’s Graduate Physics Program, and she was employed

by Defendant as a Graduate Teaching Assistant in Defendant’s Physics Department from

September 11, 2019 to June 20, 2020. Defendant terminated Plaintiff’s employment relationship

by refusing to renew her Graduate Teaching Assistantship/Teaching Assistant Contract

(“Teaching Assistant Contract”), even though she had met Defendant’s academic requirements.

       3. This is a race discrimination lawsuit under Section 1981, as amended by the Civil

Rights Act of 1991, arising from Defendant’s refusal to renew Plaintiff’s Teaching Assistant

Contract (of which she was informed on March 27, 2020) because of her race, that resulted in the

termination of her employment with Defendant, loss of her stipend and scholarship, and

exclusion from Defendant’s graduate physics program.

       4. Subject matter jurisdiction exists under 42 U.S.C. Sec. 1988.
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         5. Personal jurisdiction is proper under Fed. R. Civ. P. 4.

         6. Venue is appropriate under 28 U.S.C. Sec. 1391.

         7. Plaintiff initiated this action on December 20, 2021, by filing a pro se Complaint

against Defendant alleging that Defendant discrimination against her.

                              Count I—Section 1981 Race Discrimination

         1-7. Plaintiff realleges and incorporates by reference paragraphs 1-7 above in this Count

I as fully set forth herein

         8. Count I is brought under 42 U.S.C. Sec. 1981(a), as amended by the Civil Rights Act

of 1991.

         9. Plaintiff is a member of a racial minority. She is Middle Eastern (Iranian).

         10. Defendant intentionally discriminated against Plaintiff with respect to her rights

protected under 42 U.S.C. Sec. 1981(a), as amended by the Civil Rights Act of 1991, including

but not limited to her rights to make and enforce contracts.

         11. Plaintiff had protected contractual rights arising from or relating to her Teaching

Assistant Contract with Defendant, the renewal of her Teaching Assistant Contract with

Defendant, her employment relationship with Defendant, and the continuation of her

employment relationship with Defendant.

         12. Defendant intentionally discriminated against Plaintiff because of her race by

refusing to renew her Teaching Assistant Contract.

         13. Defendant refused to renew Plaintiff’s Teaching Assistant Contract because of her

race.

         14. Plaintiff’s performance met Defendant’s legitimate reasonable expectations.




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       15. Defendant renewed the Teaching Assistant Contracts of similarly situated teaching

assistants who are not Middle Eastern.

       16. Defendant continued the employment of similarly situated teaching assistants who

are not Middle Eastern.

       17. Defendant otherwise treated similarly situated teaching assistants who are not Middle

Eastern more favorably than Plaintiff, including but not limited to unequal distribution of

workload, differential treatment, exclusion, intolerance, and disparate treatment in terms of the

significance ascribed to absences.

       18. Defendant’s decision to not renew Plaintiff’s Teaching Assistant Contract resulted

from a pervasive discriminatory animus against Plaintiff because of her race.

       19. Defendant’s proffered reasons for its refusal to renew Plaintiff’s Teaching Assistant

Contract are pretext for intentional racial discrimination.

       20. After its refusal to renew, Defendant demonstrated further racial animus by

excluding Plaintiff from graduate coursework, important meetings, and graduate program events

(during her remaining term) effectively removing her from its graduate physics program and

department.

       21. Defendant violated Plaintiff's protected contractual rights by refusing to renew her

Teaching Assistant Contract with Defendant and thereby terminating her employment

relationship with Defendant.

       22. As a direct and proximate result of Defendant’s refusal to renew Plaintiff’s Teaching

Assistant Contract, Plaintiff suffered injuries.

       23. Plaintiff’s injuries would not have occurred but for Defendant’s intentional unlawful

racial discrimination against Plaintiff.



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        24. But for her race, Plaintiff would not have suffered the loss of her legally protected

contractual rights.

        25. Defendant’s intentional discrimination as alleged herein violates 42 U.S.C. Sec.

1981(a), as amended by the Civil Rights Act of 1991. Defendant’s violations were willful.

        26. As a direct and proximate result of Defendant’s violations and refusal to renew

Plaintiff’s Teaching Assistant Contract, Plaintiff has suffered injuries and damages, including,

but not limited to loss of income and benefits, loss of scholarship, other pecuniary damages,

damage to educational path, damage to career, emotional distress, pain and suffering.

        Wherefore, Plaintiff, Samaneh Ahmadinejad, prays for the entry of judgment against

Defendant, DePaul University, for money damages, including but not limited to damages for loss

of income and benefits, back pay, front pay, loss of scholarship, other pecuniary damages,

damage to educational path, damage to career, punitive damages, compensatory damages for

emotional distress and pain and suffering, plus litigation costs, attorneys’ fees, and equitable

relief, including but not limited to reinstatement of employment and appropriate injunctive relief,

as well as all other available legal and equitable relief.

                                                Respectfully submitted,

                                                Plaintiff, Samaneh Ahmadinejad

                                                By: /s/Stephen A. Glickman

                                                Dated: March 24, 2022
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